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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
----------------------------------------------------------------X
CAMERON BRIDGE WORKS, LLC,

                                   Plaintiff,                       NOTICE OF REMOVAL

        - against -                                                 Docket No.:

ALLIED WORLD SPECIALTY INSURANCE
COMPANY f/k/a DARWIN NATIONAL
ASSURANCE COMPANY,

                                    Defendant.
----------------------------------------------------------------X

              TO THE JUDGES OF THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NEW YORK

        Defendant ALLIED WORLD SPECIALTY INSURANCE COMPANY f/k/a

DARWIN NATIONAL ASSURANCE COMPANY (“Allied World”), by its undersigned

attorneys, petitions for the removal of the above-captioned case to this Court as follows:

        1.       This Notice of Removal is filed pursuant to 28 U.S.C. § 1441, et seq., to remove

this action, commenced in the Supreme Court of the State of New York, County of Chemung,

Index No.: 2017-1920 (“the State Court Action”). Removal is effected upon the diversity of

the parties and because the amount in controversy exceeds $75,000.00, pursuant to 28 U.S.C. §

1332(a)(1).

        2.       On or about August 10, 2017, Plaintiff filed a Summons and Complaint with the

Supreme Court of the State of New York, County of Chemung (Exhibit “A”).

        3.       The Summons and Complaint was served upon Allied World by service upon

the New York Department of Financial Services on August 14, 2017 (Exhibit “B”).




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        4.      The Complaint seeks to recover from Allied World pursuant to a Labor and

Material Payment Bond that Allied World executed, as surety, on behalf of Burtis Construction

Co., Inc., as principal.

        5.      As alleged in the Complaint (Exhibit “A”), the amount in controversy exceeds

$75,000.00, exclusive of interest and costs.

        6.      To the best of counsel’s knowledge, no other papers have been filed and no

further proceedings have occurred in the State Court Action. As such, an index of the

documents filed/served in the State Court Action pursuant to Local Civil Rule 81(a)(3)(A) does

not appear to be appropriate and is not being supplied herewith.

        7.      This Notice of Removal is filed within the time provided by 28 U.S.C. § 1446(b)

and is the first application to remove the State Court Action.

        8.      The State Court Action is a suit of a wholly civil nature over which the United

States District Court for the Western District of New York has original jurisdiction by virtue of

28 U.S.C. § 1332 (diversity of citizenship), and is one that may be removed to this Court

pursuant to 28 U.S.C. § 1441.

        9.      Upon information and belief, Plaintiff is a corporation organized and existing

pursuant to the laws of the State of New York, with its principal place of business in

Horseheads, New York.

        10.     Allied World is a corporation organized and existing pursuant to the laws of the

State of Delaware, with its principal place of business in Philadelphia, Pennsylvania.

        11.     As the amount in controversy exceeds $75,000 (exclusive of interest and costs),

and there is complete diversity of citizenship, the requirements of 28 U.S.C. § 1332(a) are

satisfied.


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       12.      Written notice of the filing of this Notice of Removal will be given to Plaintiff

and filed with the Chemung County Clerk, as required by 28 U.S.C. § 1446(d) and Local Rule

81(a)(4).

       WHEREFORE, Allied World respectfully requests that this action be removed from

the Supreme Court of the State of New York, County of Chemung, to the United States District

Court for the Western District of New York.

Dated: August 23, 2017

                                                   Respectfully submitted,

                                                   CHIESA SHAHINIAN & GIANTOMASI PC
                                                   Attorneys for Defendant
                                                   Allied World Specialty Insurance Company

                                                   By:     /s Adam P. Friedman         .
                                                           Adam P. Friedman

                                                   11 Times Square – 31st Floor
                                                   New York, New York 10036
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TO:

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